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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 IN RE MEDIA APPLICATION FOR
 AUDIOVISUAL ACCESS TO TRIAL
                                                           Case No. 23-mc-99 (TSC)
 PROCEEDINGS IN UNITED STATES OF
 AMERICA V. DONALD J. TRUMP


 IN RE APPLICATION OF
 NBCUNIVERSAL MEDIA, LLC TO
 PERMIT VIDEO AND AUDIO                                   Case No. 23-mc-107 (TSC)
 OF TRIAL PROCEEDINGS IN
 UNITED STATES V. DONALD TRUMP



                                           ORDER

       Applicants in these consolidated cases sought audiovisual access to certain proceedings

in United States v. Donald J. Trump, No. 23-cr-257 (D.D.C.). See In re Media Application for

Audiovisual Access to Trial Proceedings in United States of America v. Donald J. Trump,

Application, ECF No. 1 (“Media Application”). In re Application of NBCUniversal Media, LLC

to Permit Video and Audio of Trial Proceedings in United States v. Trump, Case No. 23-mc-107

(TSC), Application, ECF No. 1 (“NBCU Application”). The Trump case has since been

dismissed. See United States, v. Trump, No. 23-cr-257 (TSC), 2024 WL 4885816 (D.D.C. Nov.

25, 2024) (ECF No. 282); see also id., ECF Nos. 283, 285. Accordingly, the Media Application

and NBCU Application are hereby DENIED as moot, and these cases are likewise DISMISSED.



Date: December 9, 2024

                                                Tanya S. Chutkan
                                                TANYA S. CHUTKAN
                                                United States District Judge


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